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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

    ALBERT BROWN,                          §
                                           §
                  Plaintiff,               §
                                           §
    vs.                                    §     Case No. 5:21-cv-00864-SLP
                                           §
    ACCOUNT RESOLUTION                     §
    SERVICES LLC,                          §
                                           §
                  Defendant.               §

           DEFENDANT’S DISCLOSURE STATEMENT IDENTIFYING
                CONSTITUENTS OF LLC OR PARTNERSHIP

          Defendant, Healthcare Revenue Recovery Group, LLC d/b/a ARS

Account Resolution Services, 1 by and through its undersigned counsel,

files this Disclosure Statement Identifying Constituents of LLC or

Partnership pursuant to LCvR7.1.1, and would respectfully show as

follows:

          1.      Plaintiff has not invoked federal jurisdiction in this case on the

basis of diversity of citizenship with an LLC or partnership.              Instead,

Plaintiff has invoked federal jurisdiction in this case on the basis of federal

question pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). [ECF

No. 1, p. 1, ¶ 2].



1    Defendant has been incorrectly named in this suit as Account
Resolution Services LLC.

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     2.      The full name of this Defendant is Healthcare Revenue

Recovery Group, LLC (“HRRG”), who does business in Oklahoma as ARS

Account Resolution Services.

     3.      HCFS Health Care Financial Services, LLC (“HCFS”) is the sole

member of HRRG.

     4.      Neither HRRG nor HCFS is a publicly held corporation.

     5.      Neither HRRG nor HCFS is a governmental entity.

Dated: September 24, 2021.           Respectfully submitted,

                                     /s/ Kevin T. Crocker
                                     Kevin T. Crocker, Esq.
                                     Texas Bar No. 05087250

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                                     ATTORNEYS FOR DEFENDANT
                                     HEALTHCARE REVENUE RECOVERY
                                     GROUP, LLC d/b/a ARS ACCOUNT
                                     RESOLUTION SERVICES




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                      CERTIFICATE OF SERVICE

      This is to certify that on the 24th day of September 2021, a true and
correct copy of the above and foregoing “Defendant’s Disclosure Statement
Identifying Constituents of LLC or Partnership” was served via the Court’s
CM/ECF system and/or by e-mail transmission on counsel for Plaintiff,
Tiffany Hill, Esq., 1415 NW 43rd Street, Oklahoma City, Oklahoma 73118,
(405) 216-3126 [Telephone], e-mail: thlegalconsulting@gmail.com.



                                   /s/ Kevin T. Crocker
                                   Kevin T. Crocker, Esq.




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